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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

NEW CENTURY TRS HOLDINGS, : Case No. 07-10416 (KJC)
INC., a Delaware corporation, et al.,' :

Jointly Administered
Debtors.

Proposed Hearing Date: 3/5/08 at 1:30 p.m.
Proposed Objection Deadline: 2/27/08 at 4:00 p.m.

DEBTORS’ MOTION PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE
AND BANKRUPTCY RULE 9019({a) APPROVING A SETTLEMENT BETWEEN THE
DEBTORS, POSITIVE SOFTWARE SOLUTIONS, INC. AND EDWARD
MANDEL AND GRANTING RELATED RELIEF

The above-captioned debtors and debtors in possession (collectively, the
“Debtors”) hereby move this Court, pursuant to sections 105 and 363 of title 11 of the United
States Code, 11 U.S.C. §§ 101-1330 (the “Bankruptcy Code”) and Rule 9019 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for the entry of an order approving
that certain Settlement Agreement and Mutual Release of Claims, dated February 19, 2008,
between the Debtors, Positive Software Solutions, Inc. (“PSSI’) and Edward Mandel

(“Mandel”), a copy of which is attached hereto as Exhibit A (the “Settlement Agreement”), and

| The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT,
Inc ), a Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial Corporation), a
Delaware corporation; New Century Mortgage Corporation (f/kfa JBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation; Horne}23 Corporation (f/k/a The Anyloan Corporation, 1800anyloan.com,
Anyloan.com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated), a
California corporation; NC Asset Holding, L.P. (f/k/a NC Residual 1H] Corporation), a Delaware limited partnership;
NC Residual II Corporation, a Delaware corporation; NC Residual 1V Corporation, a Delaware corporation; New
Century R.E.O. Corp., a Califomia corporation; New Century REO if Corp, 4 California corporation; New
Century R.E.O HI Corp., a California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability company; NCoral, L.P., a
Delaware limited partnership; New Century Warehouse Corporation, a California corporation.

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granting related relief (the “Motion”). In support of the Motion, the Debtors respectfully
represent to the Court as follows:

General Background

1. On April 2, 2007 (the “Petition Date”), the Debtors commenced their
respective reorganization cases by filing voluntary petitions for relief under chapter 11 of the
Bankruptcy Code.

2. The Debtors are continuing in possession of their respective properties and are
operating and managing their businesses, as debtors in possession, pursuant to sections 1107 and
1108 of the Bankruptcy Code.

3. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this
Court pursuant to 28 U.S.C. §§ 1408 and 1409.

Background to Settlement Agreement

4. The history of this matter is lengthy and well known by the Court at this point.
In the interest of judicial economy and efficiency, the Debtors refer to and incorporate herein the
background facts contained in (a) the Settlement Agreement itself, and (b) the Debtors’ (A)
Response to the “Second Motion of Positive Software Solutions, Inc. for Relief from the Stay
Regarding Copyright Infringement Litigation,” (B) Cress-Motion to Disallow or Estimate
Positive Sofiware's Proofs of Claim and (C) Objection to Proofs af Claim (the “Cross Motion”)
[Docket No. 4751].

5, At the omnibus hearing on February 6, 2008, the Court indicated it would lift
the automatic stay on a limited basis to allow proceedings on the motion to vacate or confirm the

arbitration award, and also would conduct a multiple day estimation hearing in Delaware in

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connection with the confirmation hearing in April on PSSI’s four separate $580 million proofs of
claim, Accordingly, both parties and the Committee recognized that the fees of litigation would
start to accrue immediately, and accordingly revived settlement communications.

6. In an effort to fully and finally resolve certain disputes between the Debtors,
PSSI and Mandel, the parties have entered into the Settlement Agreement. The most salient
terms of the Settlement Agreement are as follows:”

e Payment and Other Financial Consideration; The Debtors shall pay to
PSSI a one-time cash payment of two million dollars $2,000,000 on or before
five (5) business days immediately following the Effective Date.*
Additionally, @) PSSI’s proof of claim against New Century Financial
Corporation shall be an “Allowed HC3b Claim”, as that class of claims is
defined under the Plan, in the amount of fifteen million dollars
($15,000,000.00), (ii) PSSI’s proof of claim against New Century Mortgage
Corporation shall be an “Allowed OP3c Claim,” as that class of claims is
defined under the Plan, in the amount of fifteen million dollars
($15,000,000.00) and (iii) PSSI’s proof of claim against Home123 and New
Century TRS Holdings, Inc. shall be disallowed.

e Privilege Waiver: The parties will enter into the “Waiver of Privileges,
Exemptions and Objections to Discovery” attached as Exhibit A to the
Settlement Agreement (the “Waiver”). In general, the Waiver (a) waives the
Debtors’ attorney-client privilege and work product immunity in connection
with the Positive Software matters, and (b) provides that the Debtors will turn
over certain hard and electronic documents in their possession to a third party
vendor which, at PSSI’s expense, will segregate documents to produce to
PSSI. Prior to production, the third party vendor will provide five (5) days
written notice to counsel for certain former officer co-defendants in the 2003
Litigation and to counsel for Susman Godfrey, to provide them the
opportunity to object to production to PSSI if they so choose.

e Mutual Release: PSS] and Edward Mandel release the Debtors and their
successors, assigns, subsidiaries, divisions, predecessors, present and former
employees, present and former employees of Alix Partners, present and
former attorneys (including in house attorneys), expert witnesses, agents and
all others in privity with them other than the Excluded Parties, as weil as the

* The terms set forth herein are intended only as a summary of the terms of the Settlement Agreement.
This Motion is qualified in its entirety by the terms of the Settlement Agreement. In the event of any inadvertent
discrepancy, the terms of the Settlement Agreement are intended to govern.

* Capitalized terms not otherwise defined herein shali have the meanings ascribed to them in the Settlement
Agreement

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Official Committee of Unsecured Creditors and its members, attorneys and
agents and the successor of any such entity, including a post-Plan
confirmation liquidating trust, corporation, partnership or limited liability
company for any acts, omissions, statements or conduct that is related in any
way to the Released Claims (as defined in the Settlement Agreement).
Additionally, the Debtors release PSSI and Mandel and their successors,
assigns, subsidiaries, divisions, predecessors, attorneys, agents and all others
in privity with them for any acts, omissions, statements or conduct that is
related in any way to the Released Claims.

e Dismissal of Pending Motions and Proceedings: The parties will dismiss
the various proceedings among them which are specified in the Settlement
Agreement, which include all proceedings in this Court and the appeal to the
United States District Court for the District of Delaware, as well as
proceedings in Texas.

© No Plan Objection. PSSI will not object to the Plan filed on February 2,
2008 and will not object to any modifications thereof except as specified in
the Settlement Agreement.

Requested Relief

7. By this Motion, the Debtors seek the entry of an order approving the
Settlement Agreement and certain other related relief pursuant to sections 105 and 363 of the
Bankruptcy Code and Bankruptcy Rule 9019. If the motion is granted, the Debotrs also seek the
dismissal of all proceedings they commenced against PSS] in this Court, as well as the vacatur of
this Court’s order sanctioning PSSI for violation of the automatic stay, since these terms are
considered by PPS] to be material consideration for the Settlement Agreement.

Basis for Relief

8. Section 105 of the Bankruptcy Code provides in pertinent part that “[t]he
court may issue any order, process, or judgment that is necessary or appropriate to carry out the
provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a). Bankruptcy Code section 363(b)
provides, in relevant part, that a debtor in possession “after notice and hearing, may use, sell, or
lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§ 363(b)(1). The standard for approval of the sale and use of property of the estate under section

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363(b) in this Circuit is whether the debtor can demonstrate a sound business justification for the

proposed transaction. Dai-ichi Kangyo Bank, Ltd. vy. Montgomery Ward Holding Corp. (In re

Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999) (“In determining whether

to authorize the use, sale or lease of property of the estate under this section, courts require the
debtor to show that a sound business purpose justifies such actions.”) (citing Committee of

Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983)

(setting forth the “sound business purpose” test in the context ofa sale of assets under § 363(b)));

In re Stroud Food, 163 B.R. 730, 732 (Bankr. M.D. Pa. 1993); In re Delaware & Hudson Ry.

Co., 124 B.R. 169 (D. Del. 1991) (adopting Lionel in this District in the context of a sale of
assets).

9. Bankruptcy Rule 9019(a) provides in pertinent part that “[o]n motion by the
trustee and after notice and a hearing, the court may approve a compromise or settlement.”
Before approving a settlement under Bankruptcy Rule 9019, a court must determine that the

proposed settlement is in the best interests of the debtor’s estate. See Myers v. Martin (In re

Martin), 91 F.3d 389, 394 (3d Cir. 1996); In re Marvel Entertainment Group, Inc., 222 B.R. 243,

249 (D. Del. 1998) (“[T]he ultimate inquiry is whether ‘the compromise is fair, reasonable, and
in the interest of the estate."”). To reach this determination, the court must assess the value of
the claim that is being settled and balance it against the value to the estate of the approval of the
settlement. See Martin, 91 F.3d at 393.

10. The standard by which courts should evaluate the reasonableness of a
proposed compromise and settlement is well established. This standard includes consideration of
the following four factors: “(1) the probability of success in litigation; (2) the likely difficulties

in collection; (3) the complexity of the litigation involved, and the expense, inconvenience and

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delay necessarily attending it; and (4) the paramount interest of the creditors.” Id.; see_also

Depositor v. Mary M. Holloway Found., 36 F.3d 582, 587 (7th Cir. 1994) (affirming an order

approving a compromise and settlement of claims against the estate where it was “unlikely” that
the debtor would succeed on the claim, litigation of the claims would involve considerable
expense, and the claimant would withdraw all claims upon approval of the settlement).
Settlements should only be rejected if they fall “below the lowest point in the range of

reasonableness.” Cosoff v. Rodman (In re W. T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983)

(citing Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972)).

11. The standard set forth above is plainly met in this case. Most importantly, the
Settlement Agreement will allow the Debtors to put the contentious, complex and burdensome
litigation associated with their dispute with PSSI -- which has already seen the Debtors expend
several million dollars in fees which could easily double absent a settlement -- behind them and
focus on confirming the Plan and making distributions thereunder for the benefit of their
creditors. Additionally, it will obviate the need for the planned estimation hearing and eliminate
the risk that this Court would require the Debtors to reserve for PSSI’s claims at a sufficiently
high level that voting in favor of the Plan could be jeopardized (for the reasons set forth in the
Cross Motion) and/or force creditors to await an adjudication on the merits for a lengthy period
before receiving distributions.

12. Accordingly, the Debtors believe that this represents a fair and reasonable
settlement of their dispute with PSSI because the Settlement Agreement allows the Debtors to
avoid the expense, uncertainty and delay associated with litigating the dispute. For these
reasons, the Debtors believe that the resolution contained in the Settlement Agreement is in the

best interests of their estates and should be approved by this Court.

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Notice

13. Notice of this Motion will be provided to: (i) the Office of the United States
Trustee for the District of Delaware, (ii) counsel to the Official Committee of Unsecured
Creditors, (iii) the Examiner appointed in these Chapter 11 cases, (iv) counsel to PSSI, (v)
Susman Godfrey, (vi) Susman Godfrey’s counsel, (vii), counsel to the other defendants in the
2003 Litigation, Frank Nese and Jeff Lemieux, and (viii) all parties which have requested notice
pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, the Debtors
submit that no other or further notice need be given.

i4. No previous motion for the relief sought herein has been made to this or any

other Court.

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WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit B, approving the terms of the Settlement

Agreement and certain related relief and granting such other and further relief as the Court may

deem just and proper.

Dated: February 19, 2008
Wilmington, Delaware

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